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UNITED STATES DISTRICT COURT
DISTRICT OF RHODE ISLAND

PETER J. BIBBY
V. CA 08-333 ML

GLENN SPARR, et ai.

ORDER

 

This matter is before the Court on Plaintiff's Objection to a Report and

Recommendation issued by Magistrate Judge Hagopian on January 6, 2009. This

 

Court has reviewed the Report and Recommendation and Plaintiffs objections. Finding
no merit in Plaintiff's objections, this Court adopts the Report and Recommendation in
its entirety. Plaintiff's Motion to Proceed In Forma Pauperis is DENIED and the

complaint is DISMISSED for failure to state a claim upon which relief may be granted.

SO ORDERED:

CVn give

Mary M. (isi
Chief United States District Judge
January Aj; , 2009

 
